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     Felix A. DeJean, III and Carolyne DeJean, Petitioners  v.  Lake View Townhome Condominium Association, Inc., a Colorado nonprofit corporation and Colleen A. Grosz. Respondents No. 24SC205Supreme Court of Colorado, En BancOctober 21, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA424
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    